                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA




ASSOCIATION OF VILLAGE
COUNCIL PRESIDENTS, et al.,

                Plaintiffs,

                and
                                                 Case No. 3:23-cv-00074-SLG
 CITY OF BETHEL,

               Intervenor-Plaintiff,

        v.

NATIONAL MARINE FISHERIES
SERVICE, et al.,

                Defendants,

        and

AT SEA-PROCESSORS
ASSOCIATION, et al.,

               Intervenor-Defendants.


     ORDER RE FEDERAL DEFENDANTS’ MOTION FOR FIFTH REVISED
                      SCHEDULING ORDER

      Before the Court at Docket 46 is Federal Defendants’ Motion for Fifth Revised

Scheduling Order. Plaintiffs and Intervenor-Plaintiff do not oppose the motion.

Intervenor-Defendants take no position on the motion. Upon due consideration, the

motion is hereby GRANTED. IT IS ORDERED that the following schedule shall

govern the outstanding briefing on the merits of the case:

         • Defendants and Intervenor-Defendants must file any opposition briefs


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              on the merits not later than April 12, 2024.

           • Plaintiffs and any Intervenor-Plaintiff must file any reply not later than

              May 10, 2024.

           • If the Court rules in favor of Plaintiffs on the merits, the Parties will submit

              separate briefing regarding the appropriate remedy. Plaintiffs’ and any

              Intervenor-Plaintiff’s opening briefs regarding the remedy shall be due

              30 days after the Court’s decision on the merits.

           • Defendants’ and Intervenor-Defendants’ responsive briefs regarding the

              remedy shall be due 30 days after the Plaintiff’s and any Intervenor-

              Plaintiff’s opening remedy briefs.

           • Plaintiffs’ and any Intervenor-Plaintiff’s reply brief regarding the remedy

              shall be due 14 days after Defendants’ and Intervenor-Defendants’

              responsive remedy briefs.

       DATED this 12th day of March 2024, at Anchorage, Alaska.


                                                    /s/ Sharon L. Gleason
                                                    UNITED STATES DISTRICT JUDGE




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